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              IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF MICHIGAN


SHERRY GAINES, individually and on
behalf of all others similarly situated,   Case No. 4:22-cv-11173-FKB-CI

                                           Hon. F. Kay Behm
                   Plaintiff,              Mag. Curtis Ivy, Jr


      v.

NATIONAL WILDLIFE FEDERATION,


                   Defendant.



    PLAINTIFF’S CORRECTED MOTION FOR LEAVE TO FILE A
           NOTICE OF SUPPLEMENTAL AUTHORITY
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       Plaintiff, individually and on behalf of all others similarly situated, files this

Corrected Motion for Leave to File a Notice of Supplemental Authority in support

of Plaintiff’s Opposition (ECF No. 21) to Defendant’s Motion to Dismiss (ECF No.

18):

       1.    On March 3, 2023, Magistrate Judge Kimberly G. Altman issued a

Report and Recommendation to Deny Defendant’s Motion to Dismiss and Motion

to Certify Question in Briscoe v. NTVB Media Inc., Case No. 4:22-cv-10352, ECF

No. 41 (E.D. Mich. Mar. 3, 2023). Case Attached as 1-A.

       2.    In Briscoe, Magistrate Judge Altman rejected many of the same

arguments raised by the Defendant in its pending Motion to Dismiss. Specifically:

             a.     Magistrate Judge Altman expressly declined to follow Nashel v.

New York Times, 2022 WL 6775657 (E.D. Mich. Oct. 11, 2022) and Wheaton v.

Apple Inc., 2019 WL 5536214 (N.D. Cal. Oct. 25, 2019), and instead held that

Horton v. GameStop Corp., 380 F. Supp. 3d 679 (W.D. Mich. 2018) and Piper v.

Talbots, Inc., 507 F. Supp. 3d 339 (D. Mass. 2020) were “more persuasive.” Briscoe

at PageID.2693-2698.       Accordingly, Magistrate Judge Altman held that the

operative complaint in Briscoe (which is nearly identical to the operative complaint

in this case) stated a claim for relief under the PPPA. See id. at PageID.2698.

             b.     Magistrate Judge Altman held that PPPA claims are governed by

the six-year statute of limitations in M.C.L. § 5813. See id. at PageID.2708-2714.
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Magistrate Judge Altman also held that certifying the statute of limitations question

to the Michigan Supreme Court was inappropriate under the circumstances. Id. at

PageID.2716-2718.

             c.    Magistrate Judge Altman held that Michigan Executive Order

2020-58 and Michigan Supreme Court Administrative Order 2020-3 operate to toll

the statute of limitations in the matter for 101 days. Id. at PageID.2715-16 (citing

Carter v. DTN Mgmt. Co., -- N.W.2d --, No. 360772, 2023 WL 439760, at *1 (Mich.

Ct. App. Jan. 26, 2023).

      3.     The proposed Notice of Supplemental Authority is attached hereto as

Exhibit 1.

      4.     On March 3, 2023, counsel for Plaintiff contacted counsel for

Defendant regarding concurrence in this motion. On March 3, 2023, counsel for

Defendant provided its position regarding the Supplemental Authority at issue here.

Following the filing of the original Motion for Leave to File a Notice of

Supplemental Authority here, ECF No. 29, counsel for Defendant sent follow up

correspondence indicating that Defendant, in fact, opposes the filing of this

Motion—as such, counsel for Plaintiffs’ file this Corrected Motion to make

Defendant’s position clear to the Court.

      WHEREFORE, Plaintiff requests that the Court grant Plaintiff’s Motion for

leave to file the attached Notice of Supplemental Authority.
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Dated: March 7, 2023               Respectfully submitted,

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              IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF MICHIGAN


SHERRY GAINES, individually and on
behalf of all others similarly situated,   Case No. 4:22-cv-11173-FKB-CI

                                           Hon. F. Kay Behm
                   Plaintiff,              Mag. Curtis Ivy, Jr


      v.

NATIONAL WILDLIFE FEDERATION,


                   Defendant.


 BRIEF IN SUPPORT OF PLAINTIFF’S CORRECTED MOTION FOR
  LEAVE TO FILE A NOTICE OF SUPPLEMENTAL AUTHORITY
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                  STATEMENT OF ISSUE PRESENTED

     1.    Whether Plaintiff should be granted leave to file a Notice of

Supplemental Authority in support of Plaintiff’s Opposition (ECF No. 21) to

Defendant’s Motion and Brief to Dismiss (ECF No. 18)

                 Plaintiff Answers: Yes.
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                  MOST APPROPRIATE AUTHORITY

  • Briscoe v. NTVB Media Inc., Case No. 4:22-cv-10352, ECF No. 41
    (E.D. Mich. Mar. 3, 2023)
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      For the reasons set forth in the above Corrected Motion, Plaintiff, by and

through the undersigned attorneys, requests that the Court grant Plaintiff’s Corrected

Motion for Leave to File a Notice of Supplemental Authority in support of Plaintiff’s

Opposition (ECF No. 21) to Defendant’s Motions to Dismiss (ECF No. 18)

(proposed notice attached as Exhibit 1 to Plaintiff’s Motion).


Dated: March 7, 2023                   Respectfully submitted,
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                          CERTIFICATE OF SERVICE

      I hereby certify that on March 7, 2023, I electronically filed the foregoing

documents using the Court’s electronic filing system, which will notify all counsel

of record authorized to receive such filings.



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